                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                           CIVIL MINUTES – GENERAL

Case No.: 5:21-00743 SB (ADS)                                 Date: June 7, 2021
Title: Christopher Marquez v. Warden                                 __________


Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                              None Reported
                Deputy Clerk                           Court Reporter / Recorder

   Attorney(s) Present for Petitioner(s):       Attorney(s) Present for Respondent(s):
              None Present                                   None Present

Proceedings:          (IN CHAMBERS) ORDER TO SHOW CAUSE RE:
                      DISMISSAL

        Before the Court is Petitioner Christopher Marquez’s Petition for Writ of Habeas
Corpus by a Person in State Custody. [Dkt. No. 1]. On April 30, 2021, the Court issued
an Order Regarding Screening of Petition (“Screening Order”). [Dkt. No. 3]. The
Screening Order notified Petitioner that (1) he failed to pay the required filing fee or
submit an IFP Request; and (2) Petitioner did not name a respondent in the Petition.
[Id.]. The Court provided Petitioner with options for how to proceed with the Petition
and ordered Petitioner to respond by May 21, 2021. [Id.]. Petitioner has not filed a
response to the Screening Order or otherwise communicated with the Court since
initiating this action on April 26, 2021. See [Dkt. No.1].

       By no later than June 28, 2021, Petitioner is ORDERED TO SHOW
CAUSE in writing why this action should not be dismissed for failure to prosecute the
Petition and follow court orders. Petitioner may respond to this Order by (1) paying the
$5.00 filing fee, (2) filing a completed Request to Proceed In Forma Pauperis with the
required supporting documentation, or (3) showing cause and explaining why he is
unable to pay the filing fee or file a completed IFP Request.

       If Petitioner no longer wishes to pursue his claims, he may request a voluntary
dismissal of this action pursuant to Federal Rule of Civil Procedure 41(a). The Clerk of
Court is directed to attach a Notice of Dismissal Form (CV-009) to this Order for
Petitioner’s convenience.

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       Petitioner is cautioned that failure to timely file a response will result
in a recommendation that this action be dismissed for the reasons stated in
the April 30, 2021 order, for failure to prosecute and/or obey court orders
pursuant to Federal Rule of Civil Procedure 41(b).




                                                                Initials of Clerk kh




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